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NVB 3001 (Effective 1/21)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA go) ele
5.
Name of Debtor: Case Number:
Meta Materials, Inc. 24-50792
1. Name and address of holder of the Equity Interest (the person or entity RECEIVED
holding an Equity Interest in the Debtor. Referred to hereinafter as the CI Check box if you are aware that anyone AND FILE
“Interest holder”): else has filed a proof of interest relating to D

your interest. Attach copy of statement
giving particulars. D F C 3 0 209 4
ii Check box if you have never received
any notices from the bankruptcy coutsrS, BAN KRUPTCY COUR T
the Debtors in this case. M ~ r
ARY A. SCHOTT, CLERK

C1] Check box if this address differs from
Telephone Number: the address on the envelope sent to you by
the Debtors.

NOTE: This form SHOULD NOT be used to make'a claim against the Debtor for-:money owed.-A-separate Proof of Claim
form should be used for that purpose. This form should only be used to assert an Equity Interest in the Debtor. An Equity
Interest is any right arising from any capital stock and any equity security in any of the Debtor. An equity security is defined
in the Bankruptcy Code'as (a) a share in‘a corporation whether or not transferable or denominated stock or similar COURT USE ONLY
security, (b) interest of.a limited partner ina limited partnership, or (c) warrant or right other than a right to convert, to
purchase, sell, or subscribe to a share, security, or interest of a kind specified in subsection (a) or (b) herein.

Account or other number by which Interest holder identifies Debtor: Check here if this claim:

er &e\ wy OK xo OC 7 BAG, Oh OX Q bb q O replaces a previously filed Proof of Interestdated:
. . 4 i / - a. O amends a previously filed Proof of Interestdated:
KX XxX SOIC .¢ Woe Boll yxx- xxx ST -f I
2. Name and Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired: | po
_. the Equity Interest asserted in this Proof of Interest: jE ; & e \ Lhe : 3/1 5/21 o iff g/2 Y
FreQelity Investments, PO. Gox T0001 , CINCINAy! Loe Boll! if 2H f2t- 8/15 /2/
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4. Total amount of member interest: F¢ Ve lite 2 Ss Sho LESS 5. Certificate number(s): a etkec te attached?
@ By folS bocce’, Wiefoil 11s shavece BLOs4 less cokes ~ eo VOCs.

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
i Check this box if your Equity Interest is based on an actual member interest held in the Debtor.
O Check this box if your Equity Interest is based on anything else and describe that interest:
Description: Investor

7. Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS, If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of
Interest.

9. Signature:
Check the appropriate box.
@ | am the creditor. © I am the creditor’s authorized agent. & 1am the trustee, or the debtor, & J am a guarantor, surety, endorser, or othercodebtor.
(Attach copy of power of attorney, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)
(See Bankruptcy Rule 3004.)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: fr

Title: / ~ f a lis fe
Company:___ Address and telephone number (if different from notice \Ye al CC . At toed | 2. | i Lol A
address above): (Sighature) YO é (Date} od

Telephone number: email:

Penaity for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 AND 3571

ALOT i 10002025 # 7g.”

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Transaction Confirmation Page 1 of 2

Confirm Date: March 15, 2021

Brokerage Account Number
*****7970 IRA - ROLLOVER

9900534863
Online Fidelity.com
FAST(sm)-Automated Telephone 800-544-5555
7 Premium Services 800-544-4442

8am - 11pm ET, Mon - Fri

REFERENCE NO. TYPE | REG.REP. | TRADE DATE | SETTLEMENT DATE | CUSIP NO. | ORDER NO.

DESCRIPTION and DISCLOSURES.

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9900534863 ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE

If you-are eligible to make a deposit, please use this form for
investments in your brokerage account *****7210 — only.

AMOUNT OF INVESTMENT | $

if there are sufficient funds in your brokerage core account
{or margin account), Fidelity will use those funds to cover
the trade(s) on this confirm. If you wish to deposit

FIDELITY INVESTMENTS additional money, use this deposit slip and make checks
PO BOX 770001 payable to: NATIONAL FINANCIAL SERVICES LLC.
CINCINNATI! OH 45277-0003 eposits will be made to the account listed above. Please

mail checks to the Fidelity address on this form. Refer to the
last page for instructions on depositing certificates.

FIDELITY BROKERAGE SERVICES LLC. MEMBER NYSE, SIPC

MEN 7220 00000

Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04 Page 18 of 34

Transaction Confirmation Page 2 of 2
Confirm Date: March 15, 2021
Brokerage Account Number
*****7210 IRA - ROLLOVER
REFERENCE NO. TYPE | REG.REP. TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.
21074-1GHM6J 1*| LHF | 03-15-27 | 03-17-21 |89102U103 |21074-KJPTG
DESCRIPTION and DISCLOSURES
You Bought TORCHLIGHT ENERGY RESOURCES INC Principal Amount 640.50
250 WE HAVE ACTED AS AGENT. Settlement Amount 640.50
at 2.5620 THIS NOTICE IS PROVIDED TO YOU, IN LIEU
Symbol: OF THE FINAL PROSPECTUS, PURSUANT TO
TRCH SECURITIES ACT RULE 173. TO THE EXTENT

9900534863

THE SALE WAS MADE PURSUANT TO A
REGISTRATION STATEMENT OR INA
TRANSACTION IN WHICH A FINAL PROSPECTUS
WOULD HAVE BEEN REQUIRED TO HAVE BEEN
DELIVERED IN THE ABSENCE OF SECURITIES
ACT RULE 172. YOU CAN VIEW THE FINAL
PROSPECTUS AT WWW.SEC.GOV, OR YOU MAY
REQUEST A PAPER COPY BY CALLING
866-602-4402.

ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE

REMITTANCE COUPON

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INVESTMENTS

Transaction Confirmation Page 1 of 3
Confirm Date: May 13, 2021

Brokerage Account Number
**#***7970 IRA - ROLLOVER

9900407273
Online Fidelity.com
FAST(sm)}-Automated Telephone 800-544-5555
7 Premium Services 800-544-4442

8am - 11pm ET, Mon - Fri

REFERENCE NO. TYPE | REG.REP, | TRADE DATE | SETTLEMENT DATE | CUSIP NO. | ORDER NO.

DESCRIPTION and DISCLOSURES

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9800407273 ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE

If you are eligible to make a deposit, please use this form for
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AMOUNT OF INVESTMENT | $

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FIDELITY INVESTMENTS additional money, use this aeposit slip and make checks
PO BOX 770001 ayable to: NATIONAL FINANCIAL SERVICES LLC.
CINCINNAT] OH 45277-0003 eposits will be made to the account listed above. Please

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FIDELITY BROKERAGE SERVICES LLC, MEMBER NYSE, SIPC

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Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04 Page 20 of 34

Transaction Confirmation Page 2 of 3
Confirm Date: May 13, 2021

REFERENCE NO.

9900407273 ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE

REMITTANCE COUPON

Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04

Page 21 of 34

Transaction Confirmation
Confirm Date: May 13, 2021

Brokerage Account Number
**=**7210 IRA - ROLLOVER

Page 3 of 3

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TYPE | REG.REP. TRADE DATE | SETTLEMENT DATE CUSIP NO. |

ORDER NO.

DESCRIPTION and DISCLOSURES

REFERENCE NO.

TYPE | REG.REP

: TRADE DATE SETTLEMENT DATE CUSIP NO.

ORDER NO.

DESCRIPTION and DISCLOSURES

REFERENCE NO. TYPE |REG.REP.| TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.
21133-1CHMJG 1* | WY# | 05-13-21 05-17-21 89102U103 | 21133-DPVXV
DESCRIPTION and DISCLOSURES
You Bought TORCHLIGHT ENERGY RESOURCES INC Principal Amount 38.00
20 WE HAVE ACTED AS AGENT. Settlement Amount 38.00
at 1.3000
Symbol :
TRCH

8900407273

ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE

Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04 Page 22 of 34

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Transaction Confirmation Page 1 of 3
Confirm Date: June 22, 2021

Brokerage Account Number
*****7210 IRA - ROLLOVER

Online Fidelity.com
FAST(sm)-Automated Telephone 800-544-5555
Premium Services 800-544-4442

8am - 17pm ET, Mon - Fri

REFERENCE NO. TYPE | REG.REP. | TRADE DATE | SETTLEMENT DATE | CUSIP NO. | a

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ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9900328450

FIDELITY INVESTMENTS
PO BOX 770001
CINCINNATI OH 45277-0003

If you are eligible to make a deposit, please use this form for
investments in your brokerage account *****7210 only.

AMOUNT OF INVESTMENT | $

if there are sufficient funds in your brokerage core account
{or margin account), Fidelity will use those funds to cover
the trade(s) on this confirm. If you wish to deposit
additional money: use this deposit slip and make checks
payable to: NATIONAL FINANCIAL SERVICES LLC.

eposits will be made to the account listed above. Please
mail checks to the Fidelity address on this form. Refer to the
last page for instructions on depositing certificates.

FIDELITY BROKERAGE SERVICES LLC, MEMBER NYSE, SIPC

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Transaction Confirmation Page 2 of 3

Confirm Date: June 22, 2021

Brokerage Account Number
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REFERENCE NO. TYPE | REG.REP. | TRADE DATE | SETTLEMENT DATE | CUSIP NO. | ORDER NO.

DESCRIPTION and DISCLOSURES

REFERENCE NO. TYPE | REG.REP, | TRADE DATE | SETTLEMENT DATE | CUSIP NO. | ORDER NO.

DESCRIPTION and DISCLOSURES

ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9800328450

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Transaction Confirmation Page 3 of 3
Confirm Date: June 22, 2021

Brokerage Account Number
*****7210 IRA - ROLLOVER

REFERENCE NO. TYPE |REG.REP.| TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.
21173-BOV59E 1*| WY# | 06-22-21 06-24-21 89102U103 |21173-HCG5V

DESCRIPTION and DISCLOSURES

You Bought TORCHLIGHT ENERGY RESOURCES INC Principal Amount 826.90
110 WE HAVE ACTED AS AGENT. Settlement Amount 826.90
at 7.5173
Symbol:
TRCH
REFERENCE NO. TYPE |REG.REP.| TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.

21173-1D5H2Q 1* | WY# | 06-22-27 06-24-21 89102U103 |21173-GMK7B

DESCRIPTION and DISCLOSURES

You Bought TORCHLIGHT ENERGY RESOURCES INC Principal Amount 623.22
78 WE HAVE ACTED AS AGENT. Settlement Amount 623.22
at 7.9900
Symbol:
TRCH
REFERENCE NO. TYPE | REG.REP. | TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.

21173-1FT83H 1* | WY# | 06-22-21 06-24-21 89102U103_ |217173-HDCON

DESCRIPTION and DISCLOSURES

You Bought TORCHLIGHT ENERGY RESOURCES INC Principal Amount 301.98
42 WE HAVE ACTED AS AGENT. Settlement Amount 301.98
at 7.1900
Symbol:
TRCH

ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9900328450

Case 24-50792-hlb Doc1482 Entered 12/30/24 16:44:04 Page 25 of 34

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Transaction Confirmation Page 1 of 2
Confirm Date: June 23, 2021

Brokerage Account Number
**#**7970 IRA - ROLLOVER

9900318187

Online Fidelity.com
FAST(sm)}-Automated Telephone 800-544-5555
7 Premium Services 800-544-4442

8am - 11pm ET, Mon - Fri

REFERENCE NO. TYPE | REG.REP.| TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.

DESCRIPTION and DISCLOSURES

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ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9900318187

If you are eligible to make a deposit, please use this form for
investments in your brokerage account *“***7210 only.

AMOUNT OF INVESTMENT | $

if there are sufficient funds in your brokerage core account
(or margin account), Fidelity will use those funds to cover
the trade(s) on this confirm. If you wish to deposit

FIDELITY INVESTMENTS additional money, use this deposit slip and make checks
PO BOX 770001 ayable to: NATIONAL FINANCIAL SERVICES LLC.
CINCINNATI! OH 45277-0003 Beposits will be made to the account listed above. Please

_ mail checks to the Fidelity address on this form. Refer to the
last page for instructions on depositing certificates.

FIDELITY BROKERAGE SERVICES LLC, MEMBER NYSE, SIPC

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Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04 Page 26 of 34

Transaction Confirmation Page 2 of 2
Confirm Date: June 23, 2021

Brokerage Account Number
*****7270 IRA - ROLLOVER

REFERENCE NO. TYPE | REG.REP. | TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.

21174-6BLDKI 1*| WY# | 06-23-21 06-25-21 89102U103 _ |21174-CQ6SL
DESCRIPTION and DISCLOSURES
You Bought TORCHLIGHT ENERGY RESOURCES INC Principal Amount 10.60
2 WE HAVE ACTED AS AGENT. Settlement Amount 10.60
at 5.3000

Symbol:
TRCH

REFERENCE NO. TYPE | REG.REP. | TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.

21174-7V733U 1* | WY# | 06-23-21 06-25-21 89102U103 |21174-CQRTL
DESCRIPTION and DISCLOSURES

You Bought TORCHLIGHT ENERGY RESOURCES INC Principal Amount 393.67
T4 WE HAVE ACTED AS AGENT. Settlement Amount 393.67
at 5.3199
Symbol:
TRCH
ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9900318187

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Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04 Page 27 of 34

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Transaction Confirmation Page 1 of 4
Confirm Date: June 25, 2021
Brokerage Account Number
*#4#**7970 IRA - ROLLOVER
Online Fidelity.com
FAST(sm)-Automated Telephone 800-544-5555
Premium Services 800-544-4442

8am - 11pm ET, Mon - Fri

REFERENCE NO. REG.REP.| TRADE DATE

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CUSIP NO.

ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9900347585

FIDELITY INVESTMENTS
PO BOX 770001
CINCINNATI OH 45277-0003

If you are eligible to make a deposit, please use this form for
investments in your brokerage account **“**7210 — only.

AMOUNT OF INVESTMENT | $

if there are sufficient funds in your brokerage core account
(or margin account), Fidelity will use those funds to cover
the trade(s) on this confirm. If you wish to deposit
additional money, use this deposit slip and make checks
payable to: NATIONAL FINANCIAL SERVICES LLC.

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last page for instructions on depositing certificates.

FIDELITY BROKERAGE SERVICES LLC. MEMBER NYSE, SIPC

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Transaction Confirmation Page 2 of 4
Confirm Date: June 25, 2021

Brokerage Account Number
*****7210 IRA - ROLLOVER

REFERENCE NO. TYPE | REG.REP. TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.

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REMITTANCE COUPON

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Transaction Confirmation
Confirm Date: June 25, 2021

Brokerage Account Number
*****7270 IRA - ROLLOVER

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Page 3 of 4

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REFERENCE NO. TYPE |REG.REP.| TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.
21176-XDRIKI 1*| WK# | 06-25-21 06-29-21 89102U103_ |21176-FPRNJ
DESCRIPTION and DISCLOSURES
You Bought TORCHLIGHT ENERGY RESOURCES INC Principal Amount 1,548.24
293 WE HAVE ACTED AS AGENT. Settlement Amount 1,548.24
at 5.2841
Symbol:
TRCH
REFERENCE NO. TYPE |REG.REP.| TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.
21176-OF6QNT 1*| WQ# | 06-25-21 06-29-21 89102U103 | 21176-H7MTV
DESCRIPTION and DISCLOSURES
You Bought TORCHLIGHT ENERGY RESOURCES INC Principal Amount 922.00
200 WE HAVE ACTED AS AGENT. Settlement Amount 922.00
at 4.6100 PARTIAL EXECUTION
Symbol :
TRCH

ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE

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Case 24-50792-hlb Doc 1482

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Transaction Confirmation Page 4 of 4
Confirm Date: June 25, 2021

Brokerage Account Number
*****7970 IRA - ROLLOVER

REFERENCE NO. TYPE | REG.REP.
21176-OF6QNV 1* | WQ#

TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.
Q6-25-21 06-29-21 89102U103 | 21176-H/MTV

You Bought
300
at 4.6000
Symbol! :
TRCH

DESCRIPTION and DISCLOSURES
TORCHLIGHT ENERGY RESOURCES INC Principal Amount 1,380.00
WE HAVE ACTED AS AGENT. Settlement Amount 1,380.00

PARTIAL EXECUTION

REFERENCE NO. TYPE | REG.REP.

TRADE DATE | SETTLEMENT DATE CUSIP NO. ORDER NO.

DESCRIPTION and DISCLOSURES

TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.

REFERENCE NO. TYPE | REG.REP.

DESCRIPTION and DISCLOSURES

ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9900347585

Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04 Page 31 of 34

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Transaction Confirmation Page 1 of 2
Confirm Date: July 7, 2021

Brokerage Account Number
****279T70 IRA - ROLLOVER

9900377711

Online Fidelity.com
FAST(sm)-Automated Telephone 800-544-5555
Premium Services 800-544-4442

8am - 1tpm ET, Mon - Fri

REFERENCE NO. TYPE | REG.REP.| TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.
21188-OGBD9D 1% # | 07-07-21 07-09-27 5§9134N104 | 21188-H83HW
DESCRIPTION and DISCLOSURES
You Bought META MATERIALS INC COM Principal Amount 1,191.45
195 WE HAVE ACTED AS AGENT. Settlement Amount 1,191.45
at 6.1100 ~
Symbol! :
MMAT
ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9900377711

If you are eligible to make a deposit, please use this form for
investments in your brokerage account *****7210 — only.

AMOUNT OF INVESTMENT | $

if there are sufficient funds in your brokerage core account
(or margin account), Fidelity will use those funds to cover
the trade(s) on this confirm. If you wish to deposit

FIDELITY INVESTMENTS additional money, use this deposit slip and make checks

PO BOX 770001 ayable to: NATIONAL FINANCIAL SERVICES LLC.

CINCINNATI OH 45277-0003 Deposits will be made to the account listed above. Please
mail checks to the Fidelity address on this form. Refer to the
last page for instructions on depositing certificates.

FIDELITY BROKERAGE SERVICES LLC, MEMBER NYSE, SIPC

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Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04 Page 32 of 34

Transaction Confirmation Page 2 of 2
Confirm Date: July 7, 2021

Brokerage Account Number
***e27970 IRA - ROLLOVER

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ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE

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REMITTANCE COUPON

Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04 Page 33 of 34

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Transaction Confirmation Page 1 of 7
Confirm Date: July 14, 2021

Brokerage Account Number
*****7970 IRA - ROLLOVER

9900350758

Online Fidelity.com
FAST(sm)-Automated Telephone 800-544-5555
Premium Services 800-544-4442

8am - 11pm ET, Mon - Fri

REFERENCE NO. TYPE | REG.REP.| TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.
21195-1C1KGM 1* | WY# | 07-14-21 07-16-21 59134N104 |21795-FREFG
DESCRIPTION and DISCLOSURES

You Bought META MATERIALS INC COM Principal Amount 23.03
6 ISIN #US59134N1046 SEDOL #BKSCVX7 Settlement Amount 23.03
at 3.8383 WE HAVE ACTED AS AGENT.
Symbol:
MMAT
ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9900350758

If you are eligible to make a deposit, please use this form for
investments in your brokerage account *“*"*7210 — only.

AMOUNT OF INVESTMENT | $

If there are sufficient funds in your brokerage core account
(or margin account), Fidelity will use those funds to cover
the trade(s) on this confirm. If you wish to deposit

FIDELITY INVESTMENTS additional money. use this deposit slip and make checks
PO BOX 770001 ayable to: NATIONAL FINANCIAL SERVICES LLC.
CINCINNATI OH 45277-0003 eposits will be made to the account listed above. Please

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last page for instructions on depositing certificates.

FIDELITY BROKERAGE SERVICES LLC, MEMBER NYSE, SIPC

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Case 24-50792-hlb Doc 1482 Entered 12/30/24 16:44:04 Page 34 of 34

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Transaction Confirmation Page 1 of 1
Confirm Date: July 19, 2021

Brokerage Account Number
**#**791709 IRA - ROLLOVER

8900494657

Online Fidelity.com
FAST(sm)}-Automated Telephone 800-544-5555
Premium Services 800-544-4442

8am - 14pm ET, Mon - Fri

REFERENCE NO. TYPE | REG.REP.| TRADE DATE SETTLEMENT DATE CUSIP NO. ORDER NO.
21200-1BVQPH 17 | WQ# | 07-19-21 07-21-27 §9134N104_ |21200-CLVBS
DESCRIPTION and DISCLOSURES

You Bought META MATERIALS INC COM Principal Amount 510.00
150 ISIN #US59134N1046 SEDOL #BKSCVX7 Settlement Amount 510.00
at 3.4000 WE HAVE ACTED AS AGENT.
Symbol :
MMAT
ALL ORDERS ARE UNSOLICITED UNLESS SPECIFIED ABOVE 9300494657

If you are eligible to make a deposit, please use this form for
investments in your brokerage account *****7210 — only.

AMOUNT OF INVESTMENT | $

If there are sufficient funds in your brokerage core account
(or margin account), Fidelity will use those funds to cover

the trade(s) on this confirm. If you wish to deposit
FIDELITY INVESTMENTS additional mone

¥ use this deposit slip and make checks
PO BOX 770001 ayable to: NATIONAL FINANCIAL SERVICES LLC.
CINCINNATI OH 45277-0003 eposits will be made to the account listed above. Please

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